Case 8:20-cr-00238-JSM-SPF Document 29 Filed 10/18/23 Page 1 of 1 PagelD 123

AO 442 (Rev. 11/11) Arrest Warrant gle Ven

Ha
UNITED STATES DISTRICT CoUR## Aug Bo
for the “IDOLE py lor M 9: 22
Middle District of Florida ang FLOR,

United States of America

v. ) 3 -t 2nS7?F

) Case No. 6 Q0-cRr I3¢ t 308 3
SANDU BORIS DIACONU )
a/k/a “utmsandu’” a/k/a “sandushell” a/k/a “rootarhive" )
a/k/a “WinD3str0y” )
ee )

Defendant
OCT 18 on99
ARREST WARRANT = gy& 48.2023 ayg:g

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) SANDU BORIS. DIACONU
who is accused of an offense or violation based on the following document filed with the court:

Indictment O Superseding Indictment 1 Information O Superseding Information © Complaint

1 Probation Violation Petition Supervised Release Violation Petition OViolation Notice O Order of the Court

This offense is briefly described as follows:

Conspiracy to commit access device fraud and access a protected computer, in violation of 18 U.S.C. § 371
Conspiracy to commit wire fraud, in violation of 18 U.S.C. § 1349

Conspiracy to commit money laundering, in violation of 18 U.S.C. § 1956(h)

Possession of fifteen or more unauthorized access devices, in violation of 18 U.S.C. §§ 1029(a)(3)
Unauthorized solicitation of an access device, in violation of 18 U.S.C. §§ 1029(a)(6)(A)

Obtaining information by computer from a protected computer, in violation of 18 U.S.C. § 1030(a)(2)(C)

Date: B-1Q- a OF alles Ng oe

Issuing officer \signature

City and state: _ Tampa, Florida ELIZABETH WARREN, Clerk, United States District Court

Printed name and title

Return

This war rant was tan Fe on (date) Of ane Df Iefac 2/ 20 ob . and the person was arrested on (date) /a/ / 5, 7. ds
at (city and state) tt. dmpay Fe

Date: ln [13/23 GUL e

ti he officer's signature

_ByYtun Garona CLLlEIa

Printed name and title

